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FOR THE F“F-D
WEsTERN DISTRICT 0F TENNESSEE ,
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UNITED sTATEs 0F AMERICA ) dx Q’J’JLDOURT
) CR.Nos. 05-2029` d il ` F\_CID&\S
) 05-20293-§/%1‘ "

vs. )
)

GERALD BERRY, )

APPLICATION ORDER and WRIT FOR HABEAS CORPUS AD PROSE UENDUM

 

The United States Attomey’s Office applies to the Court for a Writ to have Gerald Berry, RNI
Number: 168167 and Booking Number: 5115749, now being detained in the Shelby County Jail, 201
Poplar Avenue, Mernphis, TN, appear before the Honorable Diane K. Vescovo on (day) 19th, (month)
September, 2005, at (time) 2:00 pm for Initial Appearance and for such other appearances as this Court
may direct.

Respectfully submitted this 29th day of August, 2005.

 

 

Assistant U. S. Attomey
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Upon consideration of the foregoing Application, David Jolley, U.S. Marshal, Western District of
Tennessee, Memphis, TN Sheriff/Warden, Mark Luttrell, Shelby County Jail, 201 Poplar Avenue,
Memphis, TN.
YOU ARE HEREBY COMMANDED to have Gerald Berry, RNI Number: 16816'/' and Booking
Number: 5115749, appear before the Honorable Diane K. Vescovo at the date and time aforementioned

ENTERED this 29th day of August, 2005.

b/~\

UNITED STATES MAGISTRATE IUDGE

Th$s document entered on the dockets ell comptiance
with Ru|e 55 and!or 32!|)\ FRCrP on LIE_ ’

ISTRIC COURT - WESRNTE D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20295 Was distributed by faX, rnail, or direct printing on
Septernber 2, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

